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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

Case No. 6:18-bk-04148-CCJ
In re:
RICHARD JOHN LORENZ, JR.,

Debtor.
/

 

MOTION TO CONTINUE AND RESET THE HEARING ON MOTION BY
TRUSTEE FOR TURNOVER OF PROPERTY (DOC. # 62)!

 

COMES NOW THE Debtor, RICHARD JOHN LORENZ, JR., by and through
his undersigned attorneys, and files this his Motion to Continue and Reset the Hearing on
Motion by Trustee for Turnover of Property - specifically: personal property valued at
$7,460.00, as well as possession of 35119 Huff Rd., Eustis, FL on or before 07/01/2019
(Doc 62) and Objection by Debtor to Trustee's Motion for Turnover of Property of the
Estate and Request for Hearing (Doc 63) for July 16, 2019, and in support thereof states
as follows:

l. This Court scheduled a hearing on Motion by Trustee for Turnover of
Property - specifically: personal property valued at $7,460.00, as well as possession of
35119 Huff Rd., Eustis, FL on or before 07/01/2019 (Doc 62) and Objection by Debtor to
Trustee's Motion for Turnover of Property of the Estate and Request for Hearing (Doc 63)

for July 16, 2019.

 

' There is also a Motion scheduled to be heard on July 16, 2019, on the Motion By Trustee to Sell Property
Free and Clear of Liens (Doc. # 65). This Motion is not directed to that second motion and the Debtor has
no objection to that other Motion going forward as scheduled on July 16, 2019.
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2 The Debtor’s attorney is unavailable for the time scheduled, as from 1:30
to approximately 4:30, Movant’s attorney is in Mediation, as directed by the United States
Court of Appeals for the Eleventh Circuit.
A As the Movant’s attorney is unavailable, Movant seeks to continue the
hearing, only as to the above-referenced Motion.
4. There would be no prejudice to the Trustee, should this Court grant this
Motion to Continue.
5. Moreover, counsel for the Debtor has conferred in good faith with the
Trustee, and the Trustee has no objection to this Court granting the relief requested,
namely continuance of the hearing.
6. Counsel for Debtor would request that this Court re-schedule this matter
out, 3-4 weeks, or further, so that in an effort to resolve the matter with the Trustee, the
parties can further confer and exchange information.
WHEREFORE, the Movant RICHARD JOHN LORENZ, JR., pray this Court
continue and reset the hearing on the Motion by Trustee for Turnover of
Property - specifically: personal property valued at $7,460.00, as well as possession of
35119 Huff Rd., Eustis, FL on or before 07/01/2019 (Doc 62) and Objection by Debtor
to Trustee's Motion for Turnover of Property of the Estate and Request for Hearing (Doc
63) for July 16, 2019.
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing Objection to

Trustee’s Motion for Turnover of Property of the Estate and Request for Hearing has

been furnished by U.S. Mail to Marie Henkel, Trustee, 3560 South Magnolia Avenue,
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Orlando, Fl 32806, Richard Lorenz, Jr., 35119 Huff Road, Eustis, FL 32726, and Office
of the Asst. U.S. Trustee, 400 W. Washington Street, Ste. 1100, Orlando, FL 32801, and

to all parties receiving notice ECF, this 12" day of July, 2019.

/s/ Lawrence M. Kosto
Lawrence M. Kosto, Esquire
FL Bar No. 0765325

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